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UNITED S'I`A'I`ES DISTRICT COURT
FOR THE DISTR.ICT OF NEW JERSEY

UNITED STATES OF AMERICA
v. : CR.IMINAL NO. 17-119 (NLH)
SANTOS COLON : ORDER MODIFYING AMENDED

CONDITIONAL RELEASE ORDER

This matter having been opened to the Court by the defendant, Santos Colon, through his
attorney, Richard Coughlin, Federal Public Defender, who seek an Order modifying the
Amended Conditional Release Order entered on July 5, 2017, and the Court having considered
the arguments of counsel, including the government’s request that specific conditions be
included in any modification order, and having also considered the reports concerning the
defendant’s conduct, academic progress, and mental health treatrnent, and good and sufficient
cause having been shown,

It is on the day of May, 2018, ORDERED that the Amended Conditional
Release Order entered on July 5, 2017, be and is hereby modified as follows:

l. Subject to prior approval by Pretrial Services and YCS professional staff, Santos

Colon shall be allowed to periodically leave the residential facility where he has been
placed for purposes of participating in famin events and outings.

2. Any approved family excursion must be in the company of at least one parent, and in

the discretion of Pretrial Services and the YCS professional staff, a YCS staff

member may be required to accompany the family as a condition of approval

3. The duration of any excursion shall not exceed eight (8) hours, and in no
case can it involve an ovemight absence without further Order of the Court.

4. Before any excursion can be approved, an itinerary outlining estimated
travel times and identifying destinations must be provided to YCS staff and
Pretrial Services.

5. During the period of any excursion, the parent or parents to whom Santos

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5. During the period of any excursion, the parent or parents to whom Santos
Colon is released, shall serve as third party custodian, and in that capacity
shall be required to immediately report to the Court any violations of the
conditions of release, including any attempt to flee, any violations of the
law, or any indication that Santos Colon poses a danger to himself or any
other person.

6. In the event that an unanticipated impediment to travel arises which makes
impossible a return to the YCS residential facility by the approved time or
which necessitates a change in the approved itinerary, the escorting parent
or parents must promptly contact Pretrial Services and YCS staff to advise
them of the situation and follow any instructions issued by Pretrial Services
and YCS staff at that time.

7. All other conditions of release remain in full face and effect

lt is so ORDERED.

 

HONORABLE NOEL L. HILLMAN
United States District Judge

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